
Pursuant to a warrant of reprieve issued by the governor and filed with this court on September 1, 2017, it was ordered that Warren K. Henness's sentence be carried into execution on Wednesday, February 13, 2019. In order to facilitate this court's timely consideration of any matters relating to the execution of appellant's sentence, the chief justice may suspend application of any provisions of the Rules of Practice of the Supreme Court, including but not limited to the filing requirements imposed by S.Ct.Prac.R. 3.02.
Service of documents as required by S.Ct.Prac.R. 3.11 shall be personal, by facsimile transmission, or by e-mail.
Counsel of record for the parties shall provide this court with a copy of any document relating to this matter that is filed in or issued by any other court in this state or any federal court, as well as any commutation, pardon, or warrant of reprieve issued by the governor. A copy of the document shall be delivered to the office of the clerk as soon as possible, either personally, by facsimile transmission, or by e-mail.
